     Case 4:20-cv-00291 Document 28 Filed on 05/28/20 in TXSD Page 1 of 20
                                                                    United States District Court
                                                                      Southern District of Texas

                                                                          ENTERED
                     IN THE UNITED STATES DISTRICT COURT                  May 28, 2020
                     FOR THE SOUTHERN DISTRICT OF TEXAS               David J. Bradley, Clerk
                              HOUSTON DIVISION


MONAUZRE BAUGH, a/k/a MAVEN,            §
an individual,                          §
                                        §
                     Plaintiff,         §
                                        §
v.                                      §      CIVIL ACTION NO. H-20-0291
                                        §
A. H. D. HOUSTON, INC. d/b/a            §
CENTERFOLDS, ALI DAVARI, and            §
HASSAN DAVARI, individuals,             §
                                        §
                     Defendants.        §


                        MEMORANDUM OPINION AND ORDER


      Plaintiff Monauzre Baugh, also known as Maven ("Plaintiff"),
asserts        individual   and   collective   claims    for    minimum      wage,
overtime, and tip violations under the Fair Labor Standards Act
against A.H.D. Houston Inc. d/b/a Centerfolds,                 ("A.H.D."),       Ali
Davari, and Hassan Davari (collectively, "Defendants"). 1               Pending
before the court are Defendant's Motion to Dismiss Pursuant to 9
u. s. C.   §   4 ("Motion to Dismiss and Compel Arbitration") (Docket

Entry No. 13) and Davari Defendants' Motion to Join Defendant
A.H.D. Houston,        Inc.'s Motion to Dismiss         ("Davaris' Motion to
Join") (Docket Entry No. 24). For the reasons explained below, the
Motion to Dismiss and Compel Arbitration and the Davaris' Motion to
Join will be granted.


      Plaintiff's Original Complaint ("Complaint"), Docket Entry
      1

No. 1, p. 1 11, pp. 15-17 11 90-106. All page numbers for docket
entries in the record refer to the pagination inserted at the top
of the page by the court's electronic filing system, CM/ECF.
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                   I.    Factual and Procedural Background

     From 2016 through 2019 Plaintiff worked as a dancer at
Centerfolds, a club owned and operated by Defendants.2            Plaintiff
alleges that Defendants misclassified her and other dancers as
independent contractors rather than as employees and failed to pay

federally required wages for the hours they worked.3
     Plaintiff signed three License and Access Agreements while

working at Centerfolds, the most recent on January 3, 2020.4               All
three agreements ("the Contracts") contain arbitration and dispute­
resolution clauses that are identical in the parts relevant to this
motion.5       The Contracts contain an Arbitration Policy that states:
     13.       Arbitration Policy.
     (A) The parties agree that any and all covered disputes,
     claims and controversies arising out of or relating to


     2
         Id. at 1-2     1 2.
     3
         Id.
     4
      AHD. Houston, Inc. d/b/a Centerfolds License and Access
Agreement signed on January 3, 2020 ("2020 Agreement"), Exhibit A
to Motion to Dismiss and Compel Arbitration, Docket Entry No. 13-1,
pp. 7, 13; AHD. Houston, Inc. d/b/a Centerfolds License and Access
Agreement signed on September 12, 2019 ("2019 Agreement"),
Exhibit B to Motion to Dismiss and Compel Arbitration, Docket Entry
No. 13-2, pp. 5, 17; A.H.D. Houston, Inc. d/b/a Centerfolds License
and Access Agreement signed on September 29, 2016 ("2016
Agreement"), Exhibit C to Motion to Dismiss and Compel Arbitration,
Docket Entry No. 13-3, pp. 4, 16.
     5
      Because the disputed portions of the Contracts are the same
and the parties do not argue there are differences, the court will
refer only to the 2020 Agreement in discussing the agreements
collectively.
                                     -2-
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    this Agreement and/or any matter related to alleged
    employment, alleged terms or conditions of employment, or
    any alleged relationship other than that of a licensee
    that the Dancer may have against Centerfolds, its owners,
    directors, officers, managers, employees, or agents . . .
    or that Centerfolds may have against the Dancer shall be
    submitted exclusively to and determined exclusively by
    binding arbitration under the Federal Arbitration Act, 9
    U.S.C. § 1 et seq. ("FAA").

    (B) "Covered disputes, claims and controversies" include
    . . . any and all disputes, claims and controversies that
    arose before and/or after this Arbitration Policy went
    into effect, arising under . . . the Fair Labor Standards
    Act ("FLSA")



    (J)        Each Party shall bear their own attorney's
    fees, costs and filing fees, except as may be ordered by
    the arbitrator pursuant to the arbitration rules. 6

The Contracts also contain other provisions that apply to claims

and disputes that might arise from the parties' relationship:

    11.   In the event, any action is commenced to enforce or
    interpret the terms or conditions of this Agreement,
    Centerfolds shall, in addition to any costs or other
    relief, be entitled to recover its reasonable attorneys'
    fees.

    12.   The Dancer shall indemnify, hold harmless and pay
    for Centerfolds' defense from and against any and all
    claims, losses or liability, including attorneys' fees,
    arising from or relating to this Agreement or the
    Dancer's relationship with Centerfolds,       including
    liability arising from Centerfolds' own negligence.




    6
      2020 Agreement, Exhibit A to Motion to Dismiss and Compel
Arbitration, Docket Entry No. 13-1, p. 9 11 13(A)-(B), p. 12
1 13(J) (capitalization removed).
                                   -3-
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     15.   Centerfolds and the Dancer agree that if, upon any
     ruling or decision of an arbitrator, court or other
     tribunal with jurisdiction over the matter that the
     relationship between Centerfolds and the Dancer is one of
     employer and employee, the Dancer shall surrender,
     reimburse, and pay to Centerfolds all money received by
     the Dancer at any time she performed on the premises of
     Centerfolds - all of which would otherwise have been
     collected and kept by Centerfolds had the parties not
     entered into this License Agreement, and the Dancer shall
     immediately provide a full accounting to Centerfolds of
     all income which she received during the relevant time
     period. In the event that the Dancer fails to repay
     Centerfolds as provided in this paragraph, Centerfolds
     shall be entitled to offset any wage obligation by any
     amount not returned by the Dancer. 7
     On January 24, 2020, Plaintiff filed her Complaint alleging
claims for minimum wage, overtime, and tip violations under the
Fair Labor Standards Act ( "FLSA"). 8             On March 12, 2020, Defendants
filed their Motion to Dismiss and Compel Arbitration contending
that this action must be dismissed or stayed because an enforceable
arbitration     agreement         exists    between        Plaintiff      and     A.H.D. 9
Plaintiff     responded      on    April     2,    2020,        contending    that     the

arbitration         clause   is     unenforceable              because   it     contains
unconscionable        provisions     that        are   not       severable    from     the




     7
         Id. at 9   11 11-12, 12-13 1 15 (capitalization removed).
     8
         Complaint, Docket Entry No. 1, p. 1               1   1.
     9
      Motion to Dismiss and                Compel Arbitration,           Docket      Entry
No. 13, p. 1.
                                           -4-
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arbitration agreement.10    A.H.D. replied on April 9, 2020, in which
it agreed that if the court compels arbitration the action may be
stayed instead of dismissed.11       Defendants Ali and Hassan Davari
filed their Motion to Join on April 16, 2020. 12        Plaintiff filed a
response to the Davaris' Motion to Join on May 1, 2020. 13


                          II.   Legal Standard

        The Federal Arbitration Act ("FAA"), 9 U.S.C. §§ 1, et seq.,
creates "a body of federal substantive law of arbitrability,
applicable to any arbitration agreement within the coverage of the
Act."      Moses H. Cone Memorial Hospital v. Mercury Construction
Corp., 103 S. Ct. 927, 941 (1983) (citing Prima Paint Corp. v.

Flood & Conklin Manufacturing Corp.,          87 S. Ct. 1801       (1967)).
"[W] hen a court interprets [] provisions in an agreement covered by
the FAA, 'due regard must be given to the federal policy favoring
arbitration, and ambiguities as to the scope of the arbitration
clause itself resolved in favor of arbitration.'"          Mastrobuono v.

Shearson Lehman Hutton, Inc., 115 S. Ct. 1212, 1218 (1995) (quoting


     1Plaintiff's Response in Opposition to Defendants' Motion to
      0

Dismiss Pursuant to 9 U.S.C. § 4 ("Plaintiff's Response"), Docket
Entry No. 17, p. 2 1 5.
     11Defendant's Reply in Support of Motion to Dismiss Pursuant
to 9 U.S.C. § 4 ("A.H.D.'s Reply"), Docket Entry No. 20, p. 7.
     12
          Davaris' Motion to Join, Docket Entry No. 24.
      Plaintiff's Response in Opposition to Defendants Ali and
     13

Hassan Davari's Motion to Dismiss Pursuant to 9 U.S.C. § 4
("Plaintiff's Second Response"), Docket Entry No. 27.
                                    -5-
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Volt Information Sciences, Inc. v. Board of Trustees of Leland
Stanford Junior University, 109 S. Ct. 1248, 1255 (1989)).
     Section 2 of the FAA states that a written arbitration
agreement in any contract involving interstate commerce is valid,
irrevocable, and enforceable except on grounds that would permit
the revocation of a contract in law or equity.                 9   u.s.c.   §   2.

Section 3 of the FAA requires federal courts, on a party's motion,
to stay litigation of claims subject to arbitration. 9 U.S.C. § 3.

Section 4 of the FAA permits a party to seek an order compelling
arbitration if the other party has failed to arbitrate under a
written agreement.       9 U.S.C. § 4.      Courts apply a two-step inquiry
when ruling on a motion to compe 1              arbitration.       Edwards v.
Doordash, Inc., 888 F.3d 738, 743 (5th Cir. 2018). "First, the
court asks whether there is a valid agreement to arbitrate and,
second, whether the current dispute falls within the scope of a
valid agreement."    Id.
     The court applies state contract law to decide the validity of

an agreement to arbitrate.         First Options of Chicago,           Inc. v.
Kaplan, 115 s. Ct. 1920, 1924 (1995).            "[A]s a matter of federal
law, arbitration agreements and clauses are to be enforced unless
they are invalid under principles of state law that govern all
contracts."    Iberia Credit Bureau, Inc. v. Cingular Wireless LLC,
379 F.3d 159, 166 (5th Cir. 2004) (emphasis in original).              General
state-law     contract     defenses           including   fraud,       duress,


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unconscionability,            or    waiver           may    invalidate     arbitration
agreements. See Doctor's Associates, Inc. v. Casarotto, 116                      s. Ct.
1652,        1656   (1996).        But the FAA preempts state-law contract
defenses that "apply only to arbitration or [] derive their meaning
from the fact that an agreement to arbitrate is at issue."                         AT&T

Mobility        LLC   V.   Concepcion,        131    s.    Ct.    1740,   1746   (2011).
Challenges to the validity                  (rather than the existence) of the

parties' contract as a whole rather than specifically that of the
agreement to arbitrate are for the arbitrator, not the court, to
decide.         See Prima Paint, 87 S. Ct. at 1807 (the arbitrator, not
the court, is to decide a claim that the agreement was fraudulently

induced); Buckeye Check Cashing, Inc. v. Cardegna, 126 S. Ct. 1204,
1209 (2006) (a challenge to an agreement containing an arbitration
clause, as opposed to a challenge to the arbitration clause itself,
is for the arbitrator to decide).


                                     III.     Analysis

        Plaintiff does not dispute the existence of the arbitration
agreement as expressed by the Arbitration Policy in the Contracts
nor that her claims are within its scope.                         She argues that the
arbitration agreement is not enforceable because the fee-shifting
provisions in Paragraphs 11,                 12,    and 13 (J)    and the tip-return
provision in Paragraph 15 are unconscionable. 14                      Plaintiff argues
that these provisions are unconscionable                         "as applied"    to the


        14
             Plaintiff's Response, Docket Entry No. 17, pp. 5-6 1111-12.
                                             -7-
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arbitration        provision        and    thus     the   agreement     to     arbitrate
unenforceable.15          Defendants respond that the Arbitration Policy
contains a binding delegation clause that requires the court to
compel        arbitration      without      deciding      arbitrability       under   the
agreement. 16 Defendants also argue that the provisions identified

by Plaintiff do not specifically apply to the arbitration clause

and thus their conscionability goes to the validity of the contract
as a whole and must be determined by an arbitrator,                            that the
provisions are not unconscionable, and that even if the provisions
apply to the arbitration clause, they are severable.17


A.     Existence of a Delegation Clause

       The court may only consider Plaintiff's arguments if the
parties have not delegated the issue to an arbitrator. The Supreme
Court has explained that there are three types of disagreements in
the    arbitration        context:          ( 1)    the   merits   of   the    dispute;

(2) whether the merits are arbitrable; and (3) who decides the
second question.          First Options, 115 S. Ct. at 1923.                  The third
question turns on what the parties have agreed to.                            The court
decides       arbitrability        unless     the    parties   have     "clearly      and
unmistakably" agreed to submit it to the arbitrator.                             Id. at
1923-24; Crawford Professional Drugs, Inc. v. CVS Caremark Corp.,


       15
            Id. at 5   1 11,   7   1 15.
       16
            A.H.D.'s Reply, Docket Entry No. 20, pp. 3-4.
       17
            Id. at 2-3.
                                            -8-
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748 F.3d 249, 262 (5th Cir. 2014).       Such an agreement is typically
contained in a delegation clause within the agreement to arbitrate.
See, e.g., Doordash, 888 F.3d at 734-744. "[A]bsent a challenge to
the delegation clause itself, [the court] will consider that clause
to be valid and compel arbitration" because a delegation clause is

severable from the underlying agreement to arbitrate.           Id. at 744.

The court therefore must first determine whether the Arbitration
Policy delegates arbitrability to the arbitrator.
743-44.
     Since Plaintiff does not contest the arbitration agreement's
existence,   the court need only consider whether the agreement
delegates arbitrability to the arbitrator.         See id. at 745 ("[W]e
look first to whether there is an agreement to arbitrate and second
to whether that agreement contains a valid delegation clause.").
The court cannot "assume that the parties agreed to arbitrate

arbitrability   '[u]nless    the   parties   clearly    and   unmistakably
provide otherwise.'"      Petrofac,    Inc. v. DynMcDermott Petroleum
Operations Co., 687 F.3d 671, 675 (5th Cir. 2012) (quoting AT              &   T
Technologies, Inc. v. Communications Workers of America, 106 S. Ct.
1415, 1418 (1986)).    Defendants argue that Paragraph 13(A) of the
contracts is a delegation clause.18       That paragraph states:
     The parties agree that any and all covered disputes,
     claims and controversies arising out of or relating to


      Motion to Dismiss and Compel Arbitration,
     18
                                                              Docket Entry
No. 13, p. 4.
                                   -9-
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     this Agreement and/or any matter related to alleged
     employment, alleged terms or conditions of employment, or
     any alleged relationship other than that of a licensee
     that the Dancer may have against Centerfolds, its owners,
     directors, officers, managers, employees, or agents . . .
     or that Centerfolds may have against the Dancer shall be
     submitted exclusively to and determined exclusively by
     binding arbitration under the Federal Arbitration Act, 9
     U.S. C. § 1 et seq. 19
The clause does not include arbitrability as an issue the parties

agree should be determined by the arbitrator.           "[T]he law treats
silence or ambiguity about the question 'who (primarily) should
decide arbitrability' differently from the way it treats silence or
ambiguity about the question 'whether a particular merits-related
dispute is arbitrable because it is within the scope of a valid
arbitration agreement' - for in respect to this latter question the
law reverses the presumption."       First Options, 115 S. Ct. at 1924
(quoting Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.,

105 S. Ct. 3346, 3353 (19 8 5)).      Absent a clear showing that the

parties   agreed   to   have   arbitrators     decide   the   question      of

arbitrability, the court decides it.          Id. at 1925-26.       Because

Paragraph 13(A) is silent as to who should decide arbitrability,
Defendants have not met their burden to show that it is "clear and
unmistakable" that the parties agreed to delegate the issue to the
arbitrator. See Houston Refining, L.P. v. United Steel, Paper and
Forestry, Rubber, Manufacturing, 765 F.3d 396, 410 (5th Cir. 2014).


      2020 Agreement, Exhibit A to Motion to Dismiss and Compel
     19

Arbitration, Docket Entry No. 13-1, p. 9 1 13(A) (capitalization
removed).
                                   -10-
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The court will therefore consider Plaintiff's arguments as to the

unconscionability and unenforceability of the arbitration agreement.

B.     Contractual Provisions that the Court May Consider

       The court may only decide the validity of the arbitration
agreement as severed from the remainder of the contract.               Rent-A­

Center, West, Inc. v. Jackson, 130 S. Ct. 2772, 2778 (2010); see
also Buckeye, 126 S. Ct. at 1209 ("[A]s a matter of substantive
federal arbitration law, an arbitration provision is severable from
the remainder of the contract.") .             Plaintiff argues that the
provisions in Paragraphs 11 and 12 and the tip-return provision in
Paragraph 15, which are not part of the Contracts' Arbitration
Policy,       are   unconscionable   "as applied" to the agreement to
arbitrate. 20 Defendants respond that these provisions are not part
of the arbitration agreement and thus they do not affect the

enforceability of the agreement to arbitrate and that their
potential unconscionability is for the arbitrator to decide. 21 The
court must therefore address whether Paragraphs 11, 12, and 15

affect        the   agreement   to    arbitrate     before    deciding        its

enforceability.
       "[A] party's challenge to another provision of the contract,
or to the contract as a whole,           does not prevent a court from
enforcing a specific agreement to arbitrate."            Rent-A-Center, 130


      Plaintiff's Response,
       20
                                     Docket Entry No. 17,       p. 5     1 11,
p. 6 1 13.
       21
            A.H.D.'s Reply, Docket Entry No. 20, p. 3.
                                      -11-
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S. Ct. at 2778.              To oppose the enforcement of an agreement to
arbitrate         on   the   basis   of    its    validity   on   grounds such    as
unconscionability, a challenge must "be directed specifically to
the agreement to arbitrate."                Id.     When another provision in the
contract affects the arbitration agreement, the court may consider
the validity of that provision as specifically applied to the

arbitration agreement.           See id. at 2780.       In particular, provisions
that        set   procedures     for      dispute    resolution    that   apply   to
arbitration may be relevant to the arbitration clause's validity.
See id. (explaining that procedural provisions in a contract, such
as fee arrangements, might support an unconscionability challenge
to a different, severable arbitration provision).

       Paragraph 11 is a fee-shifting provision that applies to "any
action[] commenced to enforce or interpret the terms or conditions
of" the contract.22           Paragraph 12 applies to "Centerfolds' defense
from and against any and all claims, losses or liability, including
attorneys' fees, arising from or relating to this Agreement or the
Dancer's relationship with Centerfolds." 23                  Because these terms
apply to legal disputes related to the contract regardless of the
forum, they are relevant to the conscionability of the agreement to
arbitrate any dispute related to the contract.                     The court must
therefore consider these provisions' conscionability as applied to
the arbitration agreement before it may compel arbitration.


      2020 Agreement, Exhibit A to Motion to Dismiss and Compel
       22

Arbitration, Docket Entry No. 13-1, p. 9 1 11.
       23
            Id. at 9   1 12 (capitalization removed).
                                           -12-
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       The tip-return provision in Paragraph 15 applies "upon any

ruling or decision of an arbitrator, court or other tribunal .

that the relationship between Centerfolds and the Dancer is one of
employer and employee"              and requires the Dancer to "surrender,
reimburse and pay" tips to Centerfolds that the Dancer previously

received while performing there.24                  Unlike Paragraphs 11 and 12,

this    clause     does       not   govern    dispute-resolution     processes   or
arbitration.        Instead of affecting the arbitration process, it
creates a conditional, contractual right. Plaintiff's challenge to
the validity of that contractual right is not specific to the
arbitration agreement and therefore not for the court to decide.
See Rent-A-Center, 130 S. Ct. at 2778.


C.     Unconscionability of the Arbitration Agreement

       Plaintiff        argues      that     the    fee-shifting   provisions    in
Paragraphs 11,          12,    and 13 (J)     are unconscionable because they
contravene the FLSA's mandatory award of attorney's fees and costs
for prevailing plaintiffs.                 See 29 U.S.C.   §   216 (b).   Defendant
contends the provisions are not unconscionable because they do not
contravene the availability of attorney's fees for a prevailing
FLSA plaintiff.25
        The party seeking to invalidate an arbitration agreement has
the burden of proving unconscionability. In re Halliburton Co., 80
S.W.3d 566, 572 (Tex. 2002).                 "An arbitration agreement covering

       24
            Id. at 12   1 15 (capitalization removed).
       25
            A.H.D.'s Reply, Docket Entry No. 20, pp. 4-6.
                                             -13-
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statutory claims is valid so long as the arbitration agreement does

not waive the substantive rights and remedies the statute affords
and the arbitration procedures are fair, such that the employee may
'effectively vindicate his statutory rights.'"             In re Poly-America.

L. P., 26 2   S . W. 3 d   337, 349 (Tex. 2008).       Arbitration provisions

relating to federal statutory claims are not enforceable "when a

party is forced to 'forgo the substantive rights afforded by the
statute,' as opposed to merely 'submit[ting] to resolution in an
arbitral, rather than a judicial, forum.'"               Id.
     The FLSA states that courts              "shall, in addition to any
judgment awarded to the plaintiff or plaintiffs, allow a reasonable
attorney's fee to be paid by the defendant, and costs of the

action."      See 29 U.S.C.        §   216 (b).      "The FLSA's fee-shifting
provision refers only to a prevailing plaintiff                    . and says
nothing of a prevailing defendant."               Mach v. Will County Sheriff,
580 F.3d 495, 501 (7th Cir. 2009).            Instead, the "FLSA entitles a
prevailing defendant to attorney's fees only where the district
court finds that the plaintiff litigated in bad faith."             Turlington
v. Atlanta Gas Light Co., 135 F.3d 1428, 1437 (11th Cir. 1998).
The challenged contractual clauses are unconscionable only if their
application would result in an arbitration process that contravenes
or unfairly obstructs these statutory provisions.

     1.    Paragraph 11
     Paragraph 11 of the agreement states that "in the event, any
action is commenced to enforce or interpret the terms or conditions

                                       -14-
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of this Agreement, Centerfolds shall                  . be entitled to recover
its     reasonable     attorneys'   fees." 26        A.H.D.   argues    that   this
provision is not unconscionable because it only provides attorney's
fees in breach-of-contract actions and that FLSA claims do not
require enforcement or interpretation of employment contracts.27

See Parrish v. Premier Directional Drilling. L.P., 917 F.3d 369,
388 (5th Cir. 2019) (holding that economic reality, not contractual
language,        controlled    whether    a     plaintiff   was   an   independent
contractor or an employee under the FLSA).              By its plain language,
Paragraph 11 applies only to actions "to enforce or interpret" the
contract.         Because Plaintiff does not explain how Paragraph 11
would apply to an             FLSA action and        contravene its      award of
attorney's fees, the court concludes she has not met her burden to
establish that Paragraph 11 is unconscionable as applied to the
arbitration agreement.

        2.     Paragraph 12
        Paragraph 12 states that "[t]he Dancer shall indemnify, hold
harmless and pay for Centerfolds' defense from and against any and
all claims, losses or liability, including attorneys' fees, arising
from or relating to this Agreement or the Dancer's relationship
with Centerfolds, including liability arising from Centerfolds' own


      2020 Agreement, Exhibit A to Motion to Dismiss and Compel
        26

Arbitration, Docket Entry No 13-1, p. 9 1 11.
        27
             A.H.D.'s Reply, Docket Entry No. 20, p. 4.
                                         -15-
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negligence." 28    A.H.D. argues that this provision is an indemnifi­
cation clause intended to apply to third-party tort claims against
it for Plaintiff's actions while working and does not apply to

Plaintiff's own FLSA claims against it.29
        "In construing a written contract, the primary concern of the
court is to ascertain the true intentions of the parties as
expressed in the instrument."       Coker v. Coker, 650 S.W.2d 391, 393

(Tex. 1983).       "Language should be given its plain grammatical
meaning unless it definitely appears that the intention of the

parties would thereby be defeated."       Reilly v. Rangers Management,
Inc., 727 S.W.2d 527, 529-30 (Tex. 1987).          Paragraph 12 uses the
terms     "indemnify"   and   "hold harmless,"    which   are typical of

indemnification clauses.        See Derr Construction Co. v. City of
Houston, 846 S.W.2d 854, 859 (Tex. App.-Houston [14th Dist.] 1992).

Indemnity provisions do not "apply to claims between the parties to
the agreement."     Id. at 858.    For such a clause to be found to be
"more than a mere indemnity provision," it must include other
language that shows an intent for it to apply to claims between the
parties.      See, e.g., id. at 858-859.       The court concludes that
Paragraph 12's use of the phrasing "shall indemnify, hold harmless,
and pay for" plainly expresses the parties' intent to adopt an


      2020 Agreement, Exhibit A to Motion to Dismiss and Compel
     28

Arbitration, Docket Entry No 13-1, p. 9 1 12 (capitalization
removed).
     29
          A.H.D.'s Reply, Docket Entry No. 20, p. 5.
                                   -16-
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indemnification clause, and that the clause's language does not

indicate that it should apply to claims between the parties.
Accordingly,     Paragraph 12 does not apply to Plaintiff's potential
FLSA claims against A.H.D.; and therefore Plaintiff has not shown
that it is unconscionable as applied to the arbitration agreement.

     3.      Paragraph 13(J)

     Paragraph 13(J) states that "[e]ach party shall bear their own
attorney's fees, costs and filing fees, except as may be ordered by
the arbitrator pursuant to the arbitration rules." 30             A.H.D. argues
that this provision is not unconscionable because it does not waive
the substantive right to recover attorney's fees.31                   Because the
clause permits the award of attorney's feeds "pursuant to the
arbitration rules," it would only be unconscionable with respect to
FLSA claims if those rules             are unfair     or    bar   a    prevailing
plaintiff's recovery of attorney's fees.              See Poly-America, 262

S.W.3d at 349.          Because Plaintiff does not explain the rules'
effects on the availability of attorney's fees under the FLSA, the
court concludes she has not met her burden to establish that this
provision is unconscionable.
     In      summary,     Paragraphs     11,    12,   and    13 (J)     are   not

unconscionable and do not          render      the agreement to arbitrate
unenforceable.      Because the unconscionability of these provisions


      2020 Agreement, Exhibit A to Motion to Dismiss and Compel
     30

Arbitration, Docket Entry No 13-1, p. 12 1 13(J) (capitalization
removed) .
     31
          A.H.D.'s Reply, Docket Entry No. 20, p. 6.
                                       -17-
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and that of Paragraph 15 are the only grounds on which Plaintiff

opposes arbitration, the court will grant the motion to compel
arbitration.


D.      Ali and Hassan Davari May Enforce the Arbitration Agreement

        Ali and Hassan        Davari argue        that they     may enforce the

arbitration agreement against Plaintiff as non-signatories to the
agreement and may otherwise adopt by reference A.H.D.'s Motion to
Dismiss.32        A nonsignatory may enforce an arbitration agreement
against a signatory under certain circumstances.                 Arthur Andersen
LLP     v.     Carlisle,   129     S.   Ct.   1896,   1902   (2009).   One     such
circumstance         is    where    a    "signatory    raises    allegations    of
substantially interdependent and concerted misconduct by both the
non-signatory and one or more signatories to the contract."                  Brown
v. Pacific Life Insurance Co., 462 F.3d 384, 398 (5th Cir. 2006).
Plaintiff's claims against the Davaris is based on their ownership
of A.H.D. and their management of Centerfolds.33 Plaintiff alleges
Defendants' misconduct collectively and does not distinguish any
actions taken by A.H.D. and the Davaris.                The Davaris may enforce
the arbitration agreement because Plaintiff's claims against them
are the same as her claims against A.H.D., the signatory to the
arbitration agreement.             Accordingly, the Davaris' Motion to Join
will be granted.


        32
             Davaris' Motion to Join, Docket Entry No. 24, p. 2.
        33
             Complaint, Docket Entry No. 1, pp. 3-4 11 12-13.
                                          -18-
     Case 4:20-cv-00291 Document 28 Filed on 05/28/20 in TXSD Page 19 of 20



E.     The Court Will Dismiss the Action

       For the reasons explained above, the court concludes that
Defendants may all enforce the arbitration agreement and compel

arbitration of Plaintiff's claims.          When all parties in an action
are bound by an agreement to arbitrate, the court has discretion to
dismiss the action. Alford v. Dean Witter Reynolds, Inc., 975 F.2d
1161, 1164 (5th Cir. 1992). Plaintiff argues that the court should
stay    rather   than   dismiss    the   action   because    two    additional
plaintiffs have been added to the lawsuit and are not subject to
Defendants' motions. 34      Plaintiff contends that these plaintiffs
were added when she filed Consent to Sue Forms that reference this
action and in which two opt-in plaintiffs, Kiersten Middaugh and
Ashley Osborne, agree to be represented by Plaintiff's attorney to
pursue their own FLSA claims against Defendants.35
       Individuals who file their consent to join a collective FLSA
action      do   not    become    party-plaintiffs      until      conditional

certification and court-ordered notice of the collective.                     See
Beery v. Quest Diagnostics, Inc., Civ. No. 12-cv-00231{KM) (MCA),
2013 WL 3441792, at *3 (D.N.J. July 8, 2013).             Plaintiff has not

requested that the court conditionally certify the action. Even if
she had, the agreement to arbitrate is a "' threshold question'"


      Plaintiff's Second Response,
       34
                                             Docket Entry No. 27,        p. 3
11 9-10.
      Middaugh Consent Form for Wage Claim, Exhibit 1 to
       35

Plaintiff's Notice of Consent to Sue Form for Kiersten Middaugh,
Docket Entry No. 14-1, p. 2; Osborne Consent Form for Wage Claim,
Exhibit 1 to Plaintiff's Notice of Consent to Sue Form for Ashley
Osborne, Docket Entry No. 15-1, p. 2.
                                     -19-
   Case 4:20-cv-00291 Document 28 Filed on 05/28/20 in TXSD Page 20 of 20



that precedes conditional certification.            Reyna v. International

Bank of Commerce, 839 F.3d 373, 378-79 (5th Cir. 2016).             Because

Plaintiff's claims are subject to an arbitration agreement, the
court does not have subject-matter jurisdiction over an FLSA
collective action based on those claims.            White v. Turner, Civil
Action No. H-15-1485, 2016 WL 1090107, at *5 (S.D. Tex. March 21,

2016) .   Accordingly, the court will dismiss the action without
prejudice.

                       IV.   Conclusion and Order

     For the reasons explained above, the court concludes that
Plaintiff has not met her burden to establish that the arbitration

agreement is unconscionable,       and she raises no other specific
challenge to the existence         or    validity of the agreement to
arbitrate.   Because the agreement to arbitrate applies to all of
the claims asserted and may be enforced by all Defendants, the
court will dismiss rather than stay the action. Defendant's Motion
to Dismiss Pursuant to 9 U.S. C.         §   4   (Docket Entry No. 13) and

Davari Defendants' Motion to Join Defendant A.H.D. Houston, Inc.'s

Motion to Dismiss     (Docket Entry No. 24) are GRANTED, and this

action will be dismissed without prejudice.

     SIGNED at Houston, Texas, on this the 28th day of May, 2020.




                                        SENIOR UNITED STATES DISTRICT JUDGE

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